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          /s/ Clifford A. Zucker                    Clifford A. Zucker




          /s/ Derek C. Abbott                                07/30/2019
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                       Chapter 11

THG Holdings LLC, et al.,                                   Case No. 19-_____ (___)

                          Debtors.1                         Joint Administration Requested


                  CONSOLIDATED LIST OF EQUITY SECURITY HOLDERS

                  The above-captioned debtors and debtors in possession (the “Debtors”) provide

this list of equity security holders for each Debtor under rule 1007(a)(3) of the Federal Rules of

Bankruptcy Procedure.

                                            THG Holdings LLC
         Holder of Equity                                                  Nature of         Number of
                                                 Address
            Securities                                                   Interests Held      Units Held
                                      On file with Epiq
                                                                           Class A-
    Christopher Grottenthaler                                                              6082.94100
                                                                         Common Unit
                                      1000 Lakeside Avenue
                                      Cleveland, OH 44114                  Class A-
    FIO THG LLC                                                                            1773.03953
                                                                         Common Unit
                                      On file with Epiq
                                                                           Class A-
    L. Richard Covert                                                                      1654.41315
                                                                         Common Unit
                                      1000 Lakeside Avenue
                                      Cleveland, OH 44114                  Class A-
    MB PE V THG LLC                                                                        2001.81882
                                                                         Common Unit




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          The Debtors in these cases, along with the last four digits of each Debtors’ federal EIN,
          are as follows: THG Holdings LLC (8292); True Health Group LLC (9158); True Health
          Clinical LLC (5272); True Health Diagnostics LLC (9452); True Health IP LLC (5427);
          Outreach Management Solutions LLC d/b/a True Health Outreach (9424); Health Core
          Financial LLC d/b/a True Health Financial (6614). The Debtors’ mailing address is 3803
          Parkwood Blvd., Suite 400, Frisco, Texas 75034.
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                                      THG Holdings LLC
     Holder of Equity                                              Nature of         Number of
                                          Address
        Securities                                               Interests Held      Units Held
                                c/o Monroe Capital LLC
                                311 South Wacker Drive
                                Suite 6400
                                Chicago, Illinois 60606
Monroe Capital CLO 2014-1       Attention: Matt Lane               Class A-
                                                                                    184.13765
Blocker, LLC                    Facsimile: (312) 258-8350        Common Unit
                                E-mail:
                                mlane@monroecap.com

Monroe Capital MML CLO          c/o Monroe Capital LLC
2016-1 Issuer Subsidiary 1,     311 South Wacker Drive
Inc.                            Suite 6400
                                Chicago, Illinois 60606
                                Attention: Matt Lane               Class A-
                                                                                    184.13765
                                Facsimile: (312) 258-8350        Common Unit
                                E-mail:
                                mlane@monroecap.com

                                c/o Monroe Capital LLC
                                311 South Wacker Drive
                                Suite 6400
                                Chicago, Illinois 60606
Monroe Capital Private Credit   Attention: Matt Lane               Class A-
                                                                                    566.80969
Fund I LP                       Facsimile: (312) 258-8350        Common Unit
                                E-mail:
                                mlane@monroecap.com

Monroe Capital Private Credit   c/o Monroe Capital LLC
Fund II (Unleveraged) LP        311 South Wacker Drive
                                Suite 6400                         Class A-
                                                                                    139.12470
                                Chicago, Illinois 60606          Common Unit
                                Attention: Matt Lane

Monroe Capital Private Credit   c/o Monroe Capital LLC
Fund II LP                      311 South Wacker Drive
                                Suite 6400
                                Chicago, Illinois 60606            Class A-
                                                                                    1023.75846
                                Attention: Matt Lane             Common Unit
                                Facsimile: (312) 258-8350
                                E-mail:
                                mlane@monroecap.com




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                                      THG Holdings LLC
     Holder of Equity                                              Nature of         Number of
                                          Address
        Securities                                               Interests Held      Units Held
Monroe Capital Private Credit   c/o Monroe Capital LLC
Fund II-O Equity Holdings,      311 South Wacker Drive
LLC                             Suite 6400
                                Chicago, Illinois 60606
                                Attention: Matt Lane               Class A-
                                Facsimile: (312) 258-8350                           159.67277
                                                                 Common Unit
                                E-mail:
                                mlane@monroecap.com


                                c/o Monroe Capital LLC
                                311 South Wacker Drive
                                Suite 6400
                                Chicago, Illinois 60606
Monroe FCM Direct Loan          Attention: Matt Lane               Class A-
                                Facsimile: (312) 258-8350                           113.36194
Fund LP                                                          Common Unit
                                E-mail:
                                mlane@monroecap.com


                                c/o Monroe Capital LLC
                                311 South Wacker Drive
                                Suite 6400
Monroe Private Credit Fund A    Chicago, Illinois 60606            Class A-
                                Attention: Matt Lane                                944.68281
LP                                                               Common Unit
                                Facsimile: (312) 258-8350
                                E-mail:
                                mlane@monroecap.com
                                25701 Science Park Drive
                                Cleveland, OH 44122                Class A-
MSF PEF THG LLC                                                                     1944.62400
                                                                 Common Unit
PHL Variable Insurance          One American Row                   Class A-
Company                         Hartford, CT 06102                                  2166.44314
                                                                 Common Unit
Phoenix Life Insurance          One American Row                   Class A-
Company                         Hartford, CT 06102                                  3791.27578
                                                                 Common Unit
RSCF I Blocker True Health      630 Fifth Avenue, Suite 400
LLC                             New York, NY 10111                 Class A-
                                                                                    36022.41418
                                                                 Common Unit
RSCF I-A Blocker True Health    630 Fifth Avenue, Suite 400
LLC                             New York, NY 10111                 Class A-
                                                                                    9495.20799
                                                                 Common Unit




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                                       THG Holdings LLC
     Holder of Equity                                               Nature of          Number of
                                            Address
        Securities                                                Interests Held       Units Held
                                 c/o Silver Point Capital
                                 2 Greenwich Plaza, 1st Floor
                                 Greenwich, CT 06830
                                 Attn: Credit Admin Email:
Silver Point Select                                                     Class A-
                                 CreditAdmin@silverpointcapita
Opportunities Fund A, L.P.
                                 l.com                                Common Unit
                                 Ops-
                                 Administration@silverpointcapi
                                 tal.com                                            248.67642
                                 c/o Silver Point Capital
                                 2 Greenwich Plaza, 1st Floor
                                 Greenwich, CT 06830
                                 Attn: Credit Admin Email:
Silver Point Specialty Credit                                           Class A-
                                 CreditAdmin@silverpointcapita
Fund, L.P.
                                 l.com                                Common Unit
                                 Ops-
                                 Administration@silverpointcapi
                                 tal.com                                            69.62940
                                 c/o Silver Point Capital
                                 2 Greenwich Plaza, 1st Floor
                                 Greenwich, CT 06830
                                 Attn: Credit Admin Email:
                                                                        Class A-
Specialty Credit Facility, LLC   CreditAdmin@silverpointcapita
                                 l.com                                Common Unit
                                 Ops-
                                 Administration@silverpointcapi
                                 tal.com                                            510.61559
                                 2340 E. Trinity Mills Road,            Class B -
                                 Suite 233 Carrollton, TX             Common Unit
Alba Durata, LLC                 75006-1900                                         122.43401


Alexandra and Kyle               2720 Skyland Drive NE                  Class B -
Nettesheim as Joint Tenants      Atlanta, GA 30319                    Common Unit   69.40989
with Right of Survivorship
                                 On file with Epiq                      Class B -
Ancelmo E. Lopes                                                      Common Unit   122.49533




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                                      THG Holdings LLC
     Holder of Equity                                              Nature of          Number of
                                           Address
        Securities                                               Interests Held       Units Held
                                On file with Epiq                      Class B -
Blake Whitaker                                                       Common Unit   34.63909
                                On file with Epiq                      Class B -
Bruce A. Zivian                                                      Common Unit   14.28406

Carol A. Nellis and Kevin M.    79 W. Belle Isle Road NE               Class B -
Nellis as Joint Tenants with    Atlanta, GA 30342                    Common Unit   69.40989
Right of Survivorship
                                On file with Epiq                      Class B -
                                                                     Common Unit
Christian W. Richards                                                              242.47366


                                413 Black Wolf Run                     Class B -
Christopher W. Kling, MD        Wildwood, MO 63040                   Common Unit   20.40572

                                3662 Hickory Grove Lane                Class B -
CLG Investments                 Frisco, TX 75034                     Common Unit   4003.34635

Covert Investment Operations,   6200 Bay Valley Court Flower           Class B -
LLC (Larry Rick Covert)         Mound, TX 75022                      Common Unit   2581.42034

Daniel G. Grottenthaler and                                            Class B -
Anita Grottenthaler as Joint    812 Indian Wood Lane Myrtle          Common Unit
Tenants with Right of                                                              53.08134
                                Beach, SC 29588
Survivorship

                                On file with Epiq                      Class B -
Edward M. McCann                                                     Common Unit   30.60850
                                On file with Epiq                      Class B -
Fernando De Leon                                                     Common Unit   69.98482

                                On file with Epiq                      Class B -
Fernando De Leon                                                     Common Unit   209.94062

                                1000 Lakeside Avenue                   Class B -
FIO THG LLC                     Cleveland, OH 44114                  Common Unit   38.65735

                                On file with Epiq                      Class B -
Gary Smith                                                           Common Unit   138.55637



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                                    THG Holdings LLC
     Holder of Equity                                           Nature of          Number of
                                        Address
        Securities                                            Interests Held       Units Held
                             On file with Epiq                      Class B -
Jacob John Novak                                                  Common Unit   408.11349
                             On file with Epiq                      Class B -
Karen A. Miller                                                   Common Unit   204.15888

                             3500 Maple Avenue                      Class B -
LCG Ventures II, LLC         Suite 1600                           Common Unit   2040.56776
                             Dallas, TX 75219
                             3500 Maple Avenue                      Class B -
LCG Ventures, LLC            Suite 1600                           Common Unit   938.66115
                             Dallas, TX 75219
                             On file with Epiq                      Class B -
Mark T. Smith                                                     Common Unit   8.16222

                             On file with Epiq                      Class B -
Matthew Gary Milburn                                              Common Unit   40.83178
                             1000 Lakeside Avenue                   Class B -
MB PE V THG LLC              Cleveland, OH 44114                  Common Unit   43.64540

                             On file with Epiq                      Class B -
Melinda LeeAnn Milburn                                            Common Unit   40.83178

                             On file with Epiq                      Class B -
Michael Clements                                                  Common Unit   40.83178
                             On file with Epiq                      Class B -
Michael Osterhoff                                                 Common Unit   163.27612

                             On file with Epiq                      Class B -
Michael Osterhoff                                                 Common Unit   112.57705

                             25701 Science Park Drive               Class B -
MSF PEF THG LLC              Cleveland, OH 44122                  Common Unit   42.39838

                                                                    Class B -
Patrick Young                On file with Company                               34.63909
                                                                  Common Unit
PHL Variable Insurance       One American Row                       Class B -
Company                      Hartford, CT 06102                   Common Unit   47.23461




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                                     THG Holdings LLC
     Holder of Equity                                             Nature of          Number of
                                          Address
        Securities                                              Interests Held       Units Held
Phoenix Life Insurance         One American Row                       Class B -
Company                        Hartford, CT 06102                   Common Unit   82.66056
                               On file with Epiq                      Class B -
Richard Covert                                                      Common Unit   209.94062

                               205 Laurel Avenue                      Class B -
RJ Investments Co.             Highland Park, IL 60035              Common Unit   122.48516

                               On file with Epiq                      Class B -
Robert J. Osterhoff                                                 Common Unit   10.20278

RSCF I Blocker True Health     630 Fifth Avenue, Suite 400            Class B -
LLC                            New York, NY 10111                   Common Unit   785.38913

RSCF I-A Blocker True Health   630 Fifth Avenue, Suite 400            Class B -
LLC                            New York, NY 10111                   Common Unit   207.02202

                               On file with Epiq                      Class B -
Ryan M Nellis                                                       Common Unit   40.83178

                               On file with Epiq                      Class B -
Tim Hickey                                                          Common Unit   10.20278
Tom D. Wippman Revocable       332 Maple Avenue                       Class B -
Trust U/A/D 6/2/2010           Highland Park, IL 60035              Common Unit   61.24766

Tom D. Wippman Revocable       332 Maple Avenue                       Class B -
Trust U/A/D 6/2/2010           Highland Park, IL 60035              Common Unit   21.64251

True Health Diagnostic         3662 Hickory Grove Lane                Class B -
Management, LLC                Frisco, TX 75034                     Common Unit   5.765756




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                            True Health Group LLC
Holder of Equity Securities          Address                  Nature of       Percentage
                                                            Interests Held       Held
THG Holdings LLC                 3803 Parkwood Blvd
                                                              Common
                                      Suite 400                                 100%
                                                             Membership
                                  Frisco, TX 75034


                              True Health Diagnostics LLC
Holder of Equity Securities            Address                Nature of       Percentage
                                                            Interests Held       Held
True Health Group LLC            3803 Parkwood Blvd
                                                              Common
                                      Suite 400                                 100%
                                                             Membership
                                  Frisco, TX 75034

                            True Health Clinical LLC
Holder of Equity Securities          Address                  Nature of       Percentage
                                                            Interests Held       Held
True Health Group LLC            3803 Parkwood Blvd
                                                              Common
                                      Suite 400                                 100%
                                                             Membership
                                  Frisco, TX 75034

                              Health Core Financial LLC
Holder of Equity Securities            Address                Nature of       Percentage
                                                            Interests Held       Held
True Health Group LLC            3803 Parkwood Blvd
                                                              Common
                                      Suite 400                                 100%
                                                             Membership
                                  Frisco, TX 75034

                            Outreach Management Solutions, LLC
Holder of Equity Securities           Address            Nature of            Percentage
                                                       Interests Held            Held
True Health Group LLC          3803 Parkwood Blvd
                                                          Common
                                     Suite 400                                  100%
                                                        Membership
                                 Frisco, TX 75034

                            True Health IP LLC
Holder of Equity Securities          Address                  Nature of       Percentage
                                                            Interests Held       Held
True Health Group LLC            3803 Parkwood Blvd
                                                              Common
                                      Suite 400                                 100%
                                                             Membership
                                  Frisco, TX 75034




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                      /s/ Clifford A. Zucker
07/30/2019


                     Clifford A. Zucker


                      Chief Restructuring Officer
